             Case 1:18-cr-10251-ADB Document 31 Filed 01/23/19 Page 1 of 2



                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS
CRIMINAL No.
18-10251-ADB
                                      UNITED STATES OF AMERICA
                                                    v.
                                            BYRON CARDOZO
                                        INTERIM STATUS REPORT
                                             January 23, 2019
DEIN, M.J.
        An Interim Status Conference, originally scheduled for December 14, 2018, was held before this

court on January 23, 2019 pursuant to the provisions of Local Rule 116.5(b). Based on that Conference,

this court enters the following report and orders to wit:

    1. The defendant is in the process of reviewing the documents produced by the government to
       date. The date by which the defendant shall request additional discovery shall be set at the next
       status conference.

    2. The government does not expect to produce additional discovery except in response to specific
       requests and in accordance with the Local Rules.

    3. The date for filing discovery and/or dispositive motions will be set at the next status conference.

    4. The government will produce its expert discovery, which will relate to its forensic examination
       of defendant’s electronic devices, 21 days prior to trial.

    5. This court finds and concludes, pursuant to the provisions of 18 U.S.C. § 3161(h)(7)(A) and
       Section 5(b)(7)(B) of the Plan for Prompt Disposition of Criminal Cases in the United States
       District Court for the District of Massachusetts (Statement of Time Limits Adopted by the Court
       and Procedures for Implementing Them, Effective December 2008) that the defendant requires
       additional time for the preparation of an effective defense, including time for review of the
       evidence, preparation of motions, and consideration of alternatives concerning how best to
       proceed with this matter, and that the interests of justice outweighs the best interests of the
       public and the defendant for a trial within seventy days of the return of an indictment.
       Accordingly, it is hereby ordered that the Clerk of this Court enter excludable time for the period
       of December 14, 2018 through February 28, 2019 that being the period between the expiration
       of the last order of excludable time and the next status conference.
        Based upon the prior orders of the court dated September 14, 2018, November 2, 2018 and the
        order entered contemporaneously herewith, at the time of the Final Status Conference on
        February 28, 2019, there will be zero (0) days of non-excludable time under the Speedy Trial Act
        and seventy (70) days will remain under the Speedy Trial Act in which this case must be tried.
       Case 1:18-cr-10251-ADB Document 31 Filed 01/23/19 Page 2 of 2



6. A Final Status Conference has been scheduled for February 28, 2019 at 10:30 a.m. Counsel for
   the respective parties shall file a Joint Memorandum before the close of business no less than
   THREE business days prior to that Status Conference.
7. It is too early to determine if a trial will be necessary.
                                                 / s / Judith Gail Dein
                                               JUDITH GAIL DEIN
                                               UNITED STATES MAGISTRATE JUDGE




                                                  [2]
